               Case 10-46222-RG           Doc 48       Filed 01/19/13 Entered 01/19/13 07:35:34              Desc Main
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Marie-Ann Greenberg, Trustee
30 TWO BRIDGES ROAD
SUITE 330
FAIRFIELD, NJ 07004-1550


                                      IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF NEW JERSEY

                      TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS AS OF 12/31/2012

                                                       Chapter 13 Case # 10-46222


       Re:     RANDALL S.D. JACOBS                                                 Atty: MARK GOLDMAN, ESQ.
               JILL W JACOBS                                                             MARK GOLDMAN, PC
               5 HAMPTON COURT                                                           7 GLENWOOD AVE, SUITE 311B
               CALDWELL, NJ 07006                                                        EAST ORANGE, NJ 07017



                                                   RECEIPTS AS OF 12/31/2012                            (Please Read Across)

  Date                Amount             Source Document No.          Date               Amount          Source Document No.
  02/08/2011          $6,140.00          2058223                      03/03/2011        $6,022.00       2058486
  03/23/2011          $6,022.00          2221722                      04/12/2011        $6,022.00       2221768
  05/18/2011          $6,022.00          2221996                      06/20/2011        $6,453.00       2343202
  08/03/2011          $6,453.00          2343378                      08/18/2011       $11,064.00       2343335
  09/28/2011          $6,453.00          2438713                      11/04/2011        $6,453.00       2438821
  11/29/2011          $6,453.00          2438965                      12/30/2011        $6,453.00       2343473
  02/08/2012          $6,453.00          2494147                      02/29/2012        $6,453.00       2494173
  04/04/2012          $6,453.00          2494345                      05/04/2012        $6,453.00       2494464
  06/04/2012          $6,453.00          2494649                      07/03/2012        $6,453.00       2494852
  08/07/2012          $6,453.00          2494882                      09/12/2012        $6,453.00       2720606
  10/09/2012          $6,453.00          2720658                      11/14/2012        $6,453.00       2720764
  12/05/2012          $6,453.00          2720865

Total Receipts: $150,993.00 - Amount Refunded to Debtor: $0.00 = Receipts Applied to Plan: $150,993.00

                               LIST OF PAYMENTS TO CLAIMS AS OF 12/31/2012                              (Please Read Across)

  Claimant Name                Date       Amount          Check #                              Date        Amount              Check #
  BAC HOME LOANS SERVICING LP
                   09/14/2011                $208.53       636,399                         10/19/2011      $1,666.02           638,496
                   09/07/2012                $192.87       661,461                         10/15/2012      $1,435.81           663,756
                   11/13/2012              $1,697.16       666,000                         12/17/2012      $4,891.04           668,328
  INTERNAL REVENUE SERVICE
                    12/14/2011             $5,141.86       642,632                         01/18/2012    $10,283.71            644,754
                    02/14/2012               $694.32       645,571                         03/21/2012    $11,049.48            648,996
                    05/16/2012             $4,856.29       653,039                         06/18/2012     $5,070.32            655,307
                    07/16/2012             $4,987.69       657,483                         08/03/2012    ($4,987.69)           657,483




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 Claimant Name              Date        Amount          Check #                          Date        Amount             Check #
  Marie-Ann Greenberg
                          04/21/2011     $1,054.67        626,136                     05/19/2011      $285.32             627,881
                          06/23/2011       $413.23        630,180                     07/20/2011      $374.27             631,605
                          09/14/2011     $1,015.98        634,890                     10/19/2011      $658.04             636,927
                          12/14/2011       $490.43        640,939                     01/18/2012      $980.85             643,603
                          02/14/2012        $57.11        646,774                     03/21/2012      $908.83           8,000,000
                          05/16/2012       $399.44      8,000,002                     06/18/2012      $272.48           8,000,003
                          07/16/2012       $268.04      8,000,004                     09/07/2012       $18.30           8,000,006
                          10/15/2012       $354.85      8,000,007                     11/13/2012      $419.45           8,000,008
                          12/17/2012     $1,208.80      8,000,009
  STATE OF NJ
                          06/23/2011     $2,077.52       630,670                      07/20/2011     $1,113.11           632,441
                          09/14/2011     $2,885.84       635,963                      10/05/2011    ($2,077.52)          630,670
                          10/19/2011     $2,077.52       638,062
  STATE OF NJ DIVISON OF TAXATION
                      12/14/2011          $820.72        641,868                      01/18/2012     $1,641.44           643,946
                      02/03/2012         ($820.72)       641,868                      03/07/2012    ($1,641.44)          643,946
  UNITED STATES TREASURY/IRS
                    04/21/2011          $13,390.82       627,807                      05/19/2011     $4,633.96           629,478
                    06/23/2011           $4,633.96       631,522                      07/20/2011     $4,965.63           633,095
                    09/14/2011             $532.81       636,834                      09/14/2011    $12,873.84           636,834
                    10/19/2011           $4,256.85       638,949                      09/07/2012       $492.81           661,961
                    10/15/2012           $3,668.63       664,291                      11/13/2012     $4,336.40           666,481
                    12/17/2012          $12,497.07       668,825

                                            CLAIMS AND DISTRIBUTIONS
                                                                           Allowed   Percent to                     Unpaid
 Claim #                Claimant Name                     Class             Claim     be Paid      Paid             Balance *
   TTE     TRUSTEE COMPENSATION                      ADMIN                                          8,581.61      TBD
  ATTY     ATTORNEY (S) FEES                         ADMIN               7,155.11     100.00%       3,738.51             3,416.60
 COURT     CLERK OF COURT                            ADMIN                   0.00     100.00%           0.00                 0.00
   0001    AMERICAN EXPRESS CENTURION BANK           UNSECURED             902.99     100.00%           0.00               902.99
   0002    AMERICAN EXPRESS CENTURION BANK           UNSECURED          28,599.06     100.00%           0.00            28,599.06
   0003    BAC HOME LOANS SERVICING LP               MORTGAGE ARREARS IN27,544.12
                                                                         DEFAULT      100.00%      10,091.43            17,452.69
   0004    BMW FINANCIAL SERVICES NA                 VEHICLE SECURED         0.00     100.00%           0.00                 0.00
   0006    CHASE                                     UNSECURED               0.00     100.00%           0.00                 0.00
   0008    VL FUNDING                                UNSECURED               0.00     100.00%           0.00                 0.00
   0011    CITIBANK NA                               UNSECURED             126.42     100.00%           0.00               126.42
   0013    UNITED STATES TREASURY/IRS                SECURED            70,377.87     100.00%      25,784.57            44,593.30
   0018    UNITED STATES TREASURY/IRS                PRIORITY           40,498.21     100.00%      40,498.21                 0.00
   0019    UNITED STATES TREASURY/IRS                UNSECURED          88,425.43     100.00%           0.00            88,425.43
   0023    STATE OF NJ                               PRIORITY            6,076.47     100.00%       6,076.47                 0.00
   0024    AMERICAN EXPRESS                          UNSECURED               0.00     100.00%           0.00                 0.00
   0025    AMERICAN EXPRESS                          UNSECURED               0.00     100.00%           0.00                 0.00
   0026    SALLIE MAE PC TRUST                       UNSECURED               0.00     100.00%           0.00                 0.00
   0027    STATE OF NJ                               UNSECURED             760.82     100.00%           0.00               760.82
   0028    INTERNAL REVENUE SERVICE                  PRIORITY           37,095.98     100.00%      37,095.98                 0.00
   0029    STATE OF NJ DIVISON OF TAXATION           PRIORITY            8,300.00     100.00%           0.00             8,300.00

                                                                                                      Total Paid: $131,866.78
                                                                                                                 See Summary




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                                                              SUMMARY
 Summary of all receipts and disbursements from the date the case was filed, to and including: January 11 , 2013.

 Receipts: $150,993.00           -   Paid to Claims: $119,546.66     -   Admin Costs Paid: $12,320.12 =       Funds on Hand: $19,126.22




**NOTE: THIS REPORT IS NOT TO BE USED AS A PAYOFF FIGURE. ADDITIONAL ALLOWED CLAIMS AND OTHER
        VARIABLES MAY AFFECT THE AMOUNT TO COMPLETE THE PLAN.




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